Case:16-00316-MCF13 Doc#:117 Filed:01/02/20 Entered:01/02/20 11:54:47   Desc: Main
                           Document Page 1 of 12
Case:16-00316-MCF13 Doc#:117 Filed:01/02/20 Entered:01/02/20 11:54:47   Desc: Main
                           Document Page 2 of 12
Case:16-00316-MCF13 Doc#:117 Filed:01/02/20 Entered:01/02/20 11:54:47   Desc: Main
                           Document Page 3 of 12
Case:16-00316-MCF13 Doc#:117 Filed:01/02/20 Entered:01/02/20 11:54:47   Desc: Main
                           Document Page 4 of 12
Case:16-00316-MCF13 Doc#:117 Filed:01/02/20 Entered:01/02/20 11:54:47   Desc: Main
                           Document Page 5 of 12
Case:16-00316-MCF13 Doc#:117 Filed:01/02/20 Entered:01/02/20 11:54:47   Desc: Main
                           Document Page 6 of 12
Case:16-00316-MCF13 Doc#:117 Filed:01/02/20 Entered:01/02/20 11:54:47   Desc: Main
                           Document Page 7 of 12
Case:16-00316-MCF13 Doc#:117 Filed:01/02/20 Entered:01/02/20 11:54:47   Desc: Main
                           Document Page 8 of 12
Case:16-00316-MCF13 Doc#:117 Filed:01/02/20 Entered:01/02/20 11:54:47   Desc: Main
                           Document Page 9 of 12
Case:16-00316-MCF13 Doc#:117 Filed:01/02/20 Entered:01/02/20 11:54:47   Desc: Main
                          Document Page 10 of 12
Case:16-00316-MCF13 Doc#:117 Filed:01/02/20 Entered:01/02/20 11:54:47   Desc: Main
                          Document Page 11 of 12
Case:16-00316-MCF13 Doc#:117 Filed:01/02/20 Entered:01/02/20 11:54:47   Desc: Main
                          Document Page 12 of 12
